     Case: 1:18-cr-00043-TSB Doc #: 17 Filed: 10/11/18 Page: 1 of 2 PAGEID #: 125



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION


UNITED STATES OF AMERICA                      :       Case No. 1:18-CR-043
                                              :
v.                                            :       Judge Timothy S. Black
                                              :
                                              :
YANJUN XU,                                    :
(a/k/a Xu Yanjun,                             :
a/k/a Qu Hui,                                 :
a/k/a Zhang Hui)                              :



        ORDER DESIGNATING CLASSIFIED INFORMATION SECURITY OFFICERS

       The United States, through its attorney, Benjamin C. Glassman, United States Attorney

for the Southern District of Ohio, has filed an agreed motion to designate a Classified

Information Security Officer, pursuant to the Classified Information Procedures Act, 18 U.S.C.

App. III (“CIPA”) and Section 2 of the Security Procedures established under Pub. L. 96-456,

94 Stat. 2025 by the Chief Justice of the United States. The Court has been made aware of the

potential existence of classified information in the investigative material involved in this case.

Federal law now explicitly provides that federal courts must have security procedures for the

handling of classified information. See Classified Information Procedures Act, Pub. L. No. 96-

456, § 9, 94 Stat. 2029 (1980).

       Pursuant to paragraph 2 of the Security Procedures established pursuant to Pub. L. 96-

456, 94 Stat. 2025, by the Chief Justice of the United States for the protection of classified

information, the Court HEREBY APPOINTS Daniel O. Hartenstine, Security Specialist, for

the position of Classified Information Security Officer in the above-entitled matter. The Court

FURTHER APPOINTS Debra M. Guerrero-Randall, Joan B. Kennedy, Maura L. Peterson,
   Case: 1:18-cr-00043-TSB Doc #: 17 Filed: 10/11/18 Page: 2 of 2 PAGEID #: 126



Carli V. Rodriguez-Feo, Winfield S. “Scooter” Slade, and Harry J. Rucker III as Alternate

Court Security Officers in the above-entitled matter.


SO ORDERED.

                                                    ____
                                                      _ ____
                                                           _ _____
                                                                _____________________
                                                    _________________________________
                                                    TIMOTHYHY S. BLACK
                                                                  B ACK
                                                                  BL
                                                    United States District Judge




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